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1                              UNITED STATES DISTRICT COURT                    JS-6
2                             CENTRAL DISTRICT OF CALIFORNIA
3                                   WESTERN DIVISION
4
     WELLS FARGO BANK, N.A.,                        Case No.: 2:20-cv-06248-SB-SK
5
                 Plaintiff,                      ORDER APPROVING STIPULATION
6                                                TO RELEASE INTERPLEADED
          v.                                     FUNDS AND TO SETTLE CASE
7
     MAYFLOWER REMODELERS, INC.;
8    BUILDERS OF AMERICA, INC.;
     VENICE 770 BH, LLC, and EZRA
9    OZER,
10               Defendants.
11
12              The Court, having reviewed and considered the Joint Stipulation to Release
13
     Interpleaded Funds and to Settle Case, by and between Defendants, Mayflower
14
15 Remodelers, Inc. (“Mayflower”), Builders of America, Inc. (“Builders”), Venice 770
16 BH, LLC (“Venice”) and Ezra Ozer (“Mr. Ozer”) (collectively the “Claimant
17
     Defendants”), the Court finds, adjudges and orders as follows:
18
19              For good cause, the Court APPROVES the Joint Stipulation.
20
                THE COURT ORDERS:
21
22       1.      That the Registry Funds, including any interest thereon, be paid to the

23 United States Government to repay, to the extent possible, the SBA Funds made
24
   available to Mayflower and Builders. The Clerk of Court shall disburse the
25
26 interpleader funds in the registry of the Court, in the amount of $282,879.28, to the
27 United States Department of Justice by mailing a check to the following address:
28
                                              ORDER
                                   Case No.: 2:20-cv-06248-SB-SK
                                                1
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1                              U.S. Department of Justice
2
                               Nationwide Central Intake Facility
3
4                              P.O. Box 790363

5                              St. Louis, MO 63179-0363
6
         2.       That counsel for the Claimant Defendants cooperate with the U.S.
7
8    Attorney’s office to provide information necessary to properly direct the interpleaded
9    funds to the proper account within the U.S. Government;
10
         3.       That the Court dismiss this action against the Claimant Defendants; and
11
12       4.       That this Order of the Court shall not be deemed to result in a dismissal
13 of any claims existing between the Claimant Defendants and other parties as set forth
14
   in following pending cases in the Superior Court of Los Angeles County:
15
16 (i) Los Angeles Superior Court Case No. 20STCV25574 and (ii) Los Angeles
17 Superior Court Case No. 21STCV28955.
18
19           IT IS SO ORDERED.

20
     Dated: November 12, 2021
21
22
23                                                     Stanley Blumenfeld, Jr.
                                                      United States District Judge
24
     cc: Fiscal Services
25
26
27
28                                            ORDER
                                   Case No.: 2:20-cv-06248-SB-SK

                                                2
